         Case: 4:22-cr-00102-AGF                       Doc. #: 1        Filed: 02/17/22          Page: 1 of 1 PageID #: 1


 AO 91 (Rev. 11/ 11) Criminal Complaint



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                 EASTERN DISTRICT OF MlSSOURJ

                   United States of America                              )
                                 V.                                      )
                       James Dean Kukan                                  )      Case No. 4:22 MJ 6056 PLC
                                                                         )
                                                                         )       SIGNED AND SUBMITTED TO THE COURT FOR
                                                                         )       FILING BY RELIABLE ELECTRONIC MEA S
                                                                         )
                            Defendam(s)


                                                     CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ _u_nk
                                _ n_o w_
                                       n_-_F_eb_ru_a_rv
                                                      _ l_6_, 2_0_2_2_ _ in the county of _ _ _ _ _L_in_c_o_ln_ _ _ _ in the
        Eastern         District of
                                          - --Missouri
                                              - - - - - - , the defendant(s) violated:
             Code Section                                                         Offense Description

 18 U.S.C. 225 1                                    Production of Child Pornography




          This criminal complaint is based on these facts:

                                                         SEE ATTACHED AFFIDAVIT




          ~ Continued on the attached sheet.
                                                            I state under the penalty of perjury that the foregoin g is true and correct.
                                                                                  Isl Gregory S. Marx
                                                                                                  Complainant's signarure
                                                                                           Gregory S. Marx, Special Agent, FBI
                                                                                                   Printed name and title

Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal Rules of
Criminal Procedure 4.1 and 41.

Date:     02/17/2022                                                             ?atncJa L Cohe/1/
                                                                                                     Judge 's signature

City and state:                           St. Louis. Missouri                   Honorable Patricia L. Cohen , U.S. Magistrate Judge
                                                                                                   Printed name and litle     ----
